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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 UNITED STATES OF AMERICA,

 v.                                           CRIMINAL ACTION NO.
                                              1:17-CR-00207-CAP-CMS-3
 KYRIE CAMPBELL,

        Defendant.

                                   ORDER

       Before the court is the Magistrate Judge’s report and recommendation

(“R & R”) that defendant Kyrie Campbell’s motion in limine to suppress

certain statements he allegedly made after his arrest be denied as moot [Doc.

No. 186]. The R & R was received without objection.

       While the defendant originally moved to suppress all the statements he

made to law enforcement because he alleged he never received any Miranda

warnings [Doc. No. 104], he later amended his motion to suppress only his

statements to Lieutenant Allen of the Lilburn Police Department before

receiving his Miranda warnings [Doc. No. 154]. He no longer challenges the

voluntariness of the recorded statement he gave to Agent Charles after

receiving his Miranda warnings. The Government stated that it does not

intend to use the defendant’s pre-Miranda statements to Lieutenant Allen

during its case in chief [Doc. No. 173].
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      After a review of the Magistrate Judge’s R & R, the court receives the

R & R with approval and adopts it as the opinion and order of this court. The

defendant’s motion in limine to suppress illegally obtained statements [Doc.

No. 104] is DENIED AS MOOT.



      SO ORDERED this 30th day of October, 2018.



                                    /s/CHARLES A. PANNELL, JR.
                                    CHARLES A. PANNELL, JR.
                                    United States District Judge




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